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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                       :
 UNITED STATES OF AMERICA                              :
                                                       :
                    - v. -                             :            19 Cr. 374 (JMF)
                                                       :
 MICHAEL AVENATTI,                                     :
                                                       :
                            Defendant.                 :
                                                       :
 ----------------------------------------------------- x


                          THE GOVERNMENT’S MOTIONS IN LIMINE




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                                PRELIMINARY STATEMENT

       The Government respectfully submits this memorandum of law in support of its motion for

certain rulings in advance of the trial scheduled for January 24, 2021. The Government moves in

limine to: (i) admit evidence regarding the disposition of the proceeds of the defendant’s scheme

to defraud; (ii) admit limited evidence regarding the financial circumstances of the defendant and

his law firm at the time of the commission of the charged crimes; (iii) admit evidence of the

defendant’s and his law firm’s failure to file tax returns; (iv) preclude argument that victims of the

defendant’s scheme to defraud are to blame for having acted negligently or gullibly; (v) preclude

argument that the defendant lacked intent to defraud because he repaid or intended to repay the

victim; (vi) preclude evidence or argument concerning the potential punishment or consequences

that the defendant faces if convicted; and (vii) preclude evidence or argument concerning the

defendant’s prior commission of “good acts” and/or failure to commit other “bad acts.”

                                         BACKGROUND

       On May 22, 2019, a grand jury sitting in this District charged the defendant with wire fraud

and aggravated identity theft, in violation of Title 18, United States Code, Sections 1028A, 1343,

and 2. The charges stem from the defendant’s efforts to deceive a Manhattan-based literary agent

and Manhattan-based publisher, through the use of wires sent to Manhattan, in order to intercept

payments intended for the defendant’s client (“Victim-1”).          As alleged more fully in the

Indictment, and as the Government expects to prove at trial, from August 2018 through

February 2019, the defendant, then an attorney, engaged in a scheme to defraud Victim-1, who

was one of his clients at that time, by diverting money owed to Victim-1 to the defendant’s control

and use. (Indictment ¶ 1.) After assisting Victim-1 in securing a book contract with a publisher

in Manhattan, the defendant stole a significant portion of Victim-1’s advance on that contract by



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sending a fraudulent and unauthorized letter purporting to contain Victim-1’s signature to

Victim-1’s literary agent. (Id.) That letter instructed the agent to send payments not to Victim-1

but instead to a bank account controlled by the defendant. (Id.)

       Specifically, prior to Victim-1’s literary agent wiring the second of four installment

payments due to Victim-1 as part of the book advance, the defendant sent a letter to Victim-1’s

literary agent, purportedly signed by Victim-1, that instructed the literary agent to send all future

payments to a client trust account in Victim-1’s name and controlled by the defendant. (Id. ¶ 15.)

The literary agent initiated a wire transfer from Manhattan of $148,750 to the account, which the

defendant promptly began spending on his own personal and business expenses, including on

airfare, hotels, car services, restaurants and meal delivery, online retailers, payroll for his law firm

and another business he owned, and insurance. (Id. ¶¶ 16-17.) When Victim-1 began inquiring of

the defendant as to why Victim-1 had not received the second installment, the defendant lied to

Victim-1, telling Victim-1 that he was still attempting to obtain the payment from Victim-1’s

publisher. (Id. ¶¶ 19-20.) Approximately one month after diverting the payment, the defendant

used funds recently received from another source to pay $148,750 to Victim-1, so that Victim-1

would not realize that the defendant had previously taken and used Victim-1’s money. (Id. ¶ 21.)

       Approximately one week later, pursuant to the defendant’s earlier fraudulent instructions,

the literary agent sent from Manhattan another payment of $148,750 of Victim-1’s book advance

to the client account controlled by the defendant. (Id. ¶ 22.) The defendant promptly began

spending the money on his own personal expenses, including to make payments to individuals

with whom the defendant had a personal relationship, to make a monthly lease payment on a luxury

automobile, and to pay for airfare, dry cleaning, hotels, restaurants and meals, payroll, and

insurance costs. (Id. ¶ 23.) Moreover, to conceal his scheme, and despite repeated requests from



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Victim-1 to the defendant, as Victim-1’s lawyer, for assistance in obtaining the book payment that

Victim-1 believed was missing, the defendant falsely led Victim-1 to believe that Victim-1’s

publisher was refusing to make the payment to the literary agent, when, as the defendant knew,

the publisher had made the payment to the literary agent, who had then sent the money to the

defendant pursuant to the defendant’s fraudulent instructions. (Id. ¶¶ 24-25.)

                                            ARGUMENT

I.        The Court Should Admit Evidence Regarding the Disposition of Criminal Proceeds

          As described above and charged in the Indictment, the defendant, after routing the proceeds

that he stole from Victim-1 through other business accounts, used that money to meet professional

and personal obligations. For example, the defendant spent the stolen money on airfare, hotels,

car services, restaurants and meal delivery, online retailers, payroll for his law firm and another

business he owned, insurance, individuals with whom the defendant had a personal relationship, a

monthly lease payment on a luxury automobile. (Id. ¶¶ 16-17, 23.) The Government intends to

offer evidence in the form of bank records, summary charts, and limited testimony regarding those

records and charts and the identity of recipients of the funds as (1) direct evidence of the

defendant’s scheme to defraud; (2) proof that that the defendant controlled the disposition of the

fraud proceeds; and (3) evidence of the defendant’s motive and intent to commit the charged

crimes.

          A.     Applicable Law

          Under Federal Rule of Evidence 402, “[r]elevant evidence is admissible,” and “[i]rrelevant

evidence is not admissible.” Evidence is relevant if “it has any tendency to make a fact more or

less probable than it would be without the evidence” and “the fact is of consequence in determining

the action.” Fed. R. Evid. 401. This is generally not a difficult test to meet. See, e.g., United

States v. Quattrone, 441 F.3d 153, 188 (2d Cir. 2006) (“so long as a chain of inferences leads the

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trier of fact to conclude that the proffered submission affects the mix of material information, the

evidence cannot be excluded at the threshold relevance inquiry” (citing United States v. Ravich,

421 F.2d 1196, 1204 n.10 (2d Cir. 1970) (Friendly, J.))).

       Otherwise admissible evidence is subject to preclusion under Federal Rule of Evidence 403

if its probative value is “substantially outweighed” by the danger of, among other things, unfair

prejudice. Fed. R. Evid. 403. The “prejudice that Rule 403 is concerned with involves ‘some

adverse effect . . . beyond tending to prove the fact or issue that justified its admission into

evidence.’” United States v. Gelzer, 50 F.3d 1133, 1139 (2d Cir. 1995) (quoting United States v.

Figueroa, 618 F.2d 934, 943 (2d Cir. 1980)).

       Evidence showing how a defendant spent the proceeds of his crime is routinely admitted

in this Circuit as relevant evidence to establish a defendant’s motive and intent for committing the

crime. See, e.g., United States v. Addario, 662 F. App’x 61, 63 (2d Cir. 2016) (summary order)

(admitting evidence of defendant’s “spending habits,” including “information about his substantial

gambling activity” and “records of his personal expenditures, such as expensive automobiles, trips,

and country club fees” on the ground that “the spending and gambling activity could explain [the

defendant’s] motive for committing the fraud”); United States v. Brennerman, 17 Cr. 337 (RJS)

(S.D.N.Y. Nov. 20, 2017) (Tr. 33) (denying defense motion to preclude evidence of defendant’s

use of wire and bank fraud proceeds because, among other reasons, “it goes to intent . . . , goes to

consciousness of guilt, [and] motive”); cf. also United States v. Frederick, 242 F.3d 368, 2001 WL

10364, at *1 (2d Cir. 2000) (summary order) (holding that district court did not commit plain error

in admitting evidence of defendant’s personal expenditures “because evidence of unexplained

wealth is admissible where the ordinary motive for a crime is financial gain”); United States v.

Falley, 489 F.2d 33, 39 (2d Cir. 1983) (upholding admission of evidence of defendant’s personal



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expenditures because “proof that a defendant is living far above the means provided by his

disclosed income is of great probative value in a case involving a crime where the motive is

financial gain”); United States v. Mahmoud Thiam, No. 17 Cr. 47 (DLC) (S.D.N.Y. April 27, 2017)

(Tr. 392-93) (finding that evidence that defendant used bribe money to buy and renovate a home

“in a luxurious manner,” was “highly relevant,” and would not cause unfair prejudice under

Rule 403); United States v. Levy, No. 11 Cr. 62 (PAC), 2013 WL 815915, at *2 (S.D.N.Y. Mar. 5,

2013) (finding that evidence of how defendants spent their money was admissible to show, among

other things, their motive for engaging in criminal conduct).

       B.      Discussion

       Evidence regarding the way in which the defendant spent the proceeds of his scheme to

defraud is directly relevant, highly probative, and not unfairly prejudicial. It should be admitted

as (1) direct evidence of the defendant’s scheme to defraud; (2) proof that that the defendant

controlled the disposition of the fraud proceeds; and (3) evidence of the defendant’s motive and

intent to commit the charged crimes.

       First, evidence tracing the disposition of the fraud proceeds is necessary to prove that the

defendant devised a scheme and intended to deprive Victim-1 of money or property, which the

Government has the burden of demonstrating to the jury. The defendant obtained Victim-1’s

money by instructing Victim-1’s literary agent, under false pretenses, to deliver the funds to what

was ostensibly a client trust account. From there, the defendant transferred the vast majority of

the funds to three bank accounts associated with his law firms, and from there spent the money to

meet various personal or professional obligations. Particularly because the defendant did not

transfer the money to a personal bank account, it is necessary to prove that the defendant converted

the funds to his own use by offering evidence of the manner in which the funds were disposed to

benefit the defendant.

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       Second, the manner in which the funds were spent provides important proof and

corroboration that the defendant converted the money to his own use. In other words, the fact that

the funds were spent in ways that benefited the defendant both professionally and personally

demonstrates that the defendant controlled the money, and intended to deprive Victim-1 of it.

       Third, the way in which the criminal proceeds were used provides evidence of the

defendant’s intent. The fact that the defendant promptly spent the money he stole on both pending

obligations and personal luxuries is probative of his intent to defraud, and, as noted above, courts

have frequently admitted such evidence for this purpose. E.g., Addario, 662 F. App’x at 63;

Brennerman, 17 Cr. 337 (RJS) (S.D.N.Y. Nov. 20, 2017) (Tr. 33). These facts are particularly

probative in conjunction with the evidence of the defendant’s and his law firm’s financial condition

discussed below because together they demonstrate the defendant’s need to obtain money to meet

pending bills and obligations at the time that he defrauded Victim-1.

       Nor is there any risk that the probative value of the proffered evidence might be

substantially outweighed by any danger of unfair prejudice pursuant to Rule 403. The evidence

the Government seeks to introduce consists of bank records, summary charts, and associated

testimony that demonstrate spending that—if it were not for the fact that the funds were stolen—

would be routine and largely unremarkable, such as spending on airfare, food, cleaners, insurance,

and payroll, and transfers to other client accounts or individuals, and do not, for example, involve

the purchase of illegal goods or services. It is true that the defendant did spend a portion of the

proceeds on a payment for a luxury car, but, particularly in the context of a case concerning a

formerly high-profile attorney stealing from a high-profile client, this type of evidence is far less

sensational than the nature of the charges and certainly would not risk any unfair or inappropriate

prejudice. See United States v. Pitre, 960 F.2d 1112, 1120 (2d Cir. 1992) (affirming admission of



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evidence that “‘did not involve conduct any more sensational or disturbing than the crimes with

which [the appellants were] charged”’) (internal quotation marks and citation omitted); United

States v. Peters, 791 F.2d 1270, 1294 (7th Cir. 1986) (evidence is unfairly prejudicial under Rule

403 if it arouses a sense of horror or otherwise produces an emotional response that would cause

the jury to base its decision on something other than the evidence). Accordingly, the Court should

admit evidence regarding the way in which the defendant spent the proceeds of his scheme.

II.     The Court Should Admit Evidence Regarding the Defendant’s and His Law Firm’s
        Financial Circumstances

        A.     Relevant Facts

        The Government expects that the evidence at trial will show that, at the time of his charged

conduct, the defendant and his law firm—in which he was the sole partner—were struggling

financially and in significant debt.    The Government intends for the evidence of financial

difficulties and debts to be presented through documentary evidence and brief testimony from two

witnesses: (1) a lay witness who assisted the defendant with managing his finances, 1 and (2) a law

enforcement witness who may present one or more summary charts, including regarding financial

records. 2

        B.     Applicable Law

        “Motive has been variously defined as ‘the reason that nudges the will and prods the mind

to indulge the criminal intent,’ United States v. Benton, 637 F.2d 1052, 1056 (5th Cir. 1981)

(internal quotation marks omitted); ‘the rationale for an actor’s particular conduct,’ United States



1
        The same lay witness testified in United States v. Avenatti, S1 19 Cr. 373 (PGG), about the
defendant’s law firm’s financial condition as of March 2019, which was the relevant point in time
for that case. (See Trial Tr. 1401-06.)
2
        The parties may be able to streamline such evidence by agreeing to a stipulation similar to
GX S-4 in United States v. Avenatti, S1 19 Cr. 373 (PGG) (attached hereto as Exhibit 1), which
reflected certain debts owed by the defendant as of March 2019.

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v. Awan, 607 F.3d 206, 137 (2d Cir. 2010); and ‘an emotion or state of mind that prompts a person

to act in a particular way,’ Charles Alan Wright and Kenneth W. Graham, Jr., Federal Practice

and Procedure: Federal Rules of Evidence § 5240.” United States v. Siddiqui, 699 F.3d 690, 702

(2d Cir. 2012). “Although it does not bear directly on the charged elements of a crime, evidence

offered to prove motive is commonly admitted.” United States v. Salameh, 152 F.3d 88, 111 (2d

Cir. 1998); see also 1 Modern Federal Jury Instructions-Criminal, Instr. 6-18. “And unlike issues

of knowledge and intent, the defendant’s motive—an explanation of why the defendant would

engage in the charged conduct—becomes highly relevant when the defendant argues that he did

not commit the crime.” Siddiqui, 699 F.3d at 702 (emphasis in original).

       “The Second Circuit has long recognized that evidence of indebtedness is admissible in a

criminal case to establish motive.” United States v. Shyne, No. S4 05 Cr. 1067 (KMK), 2007 WL

1075035, at *34 (S.D.N.Y. Apr. 5, 2007) (citing United States v. Hernandez, 588 F.2d 346, 348-

49 (2d Cir. 1978) (collecting cases)); see also, e.g., United States v. Reed, 639 F.2d 907 (2nd Cir.

1981) (“[A] defendant’s belief that he is in financial difficulty is admissible to show motive, and

not unduly prejudicial.”).

       C.      Discussion

       The defendant’s desperation for money at the particular time of the offense conduct is

highly probative of his motive to engage in the charged conduct. That desperation provides

necessary context for the defendant’s conduct, which would appropriately be viewed as shockingly

brazen, and is an important factor that the jury should be permitted to consider in assessing the

defendant’s intent. For these same reasons, courts routinely admit such evidence. See, e.g., United

States v. Bergstein, 788 F. App’x 742, 745 (2d Cir. 2019) (affirming admission of “evidence of

[defendant’s] casino debts” because it “plainly reflects [defendant’s] motive”); United States v. Li,

133 F.3d 908, 1997 WL 796149, at *1 (2d Cir. 1997) (“evidence of [defendant’s] debt . . . was

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properly admissible as evidence of motive”); United States v. Bold, 100 F.3d 944, 1996 WL 75833,

at *1 (2d Cir. 1996) (affirming admission of evidence of “indebtedness” to show “motive in

robbing a bank”); United States v. Meszaros, No. 06 Cr. 290 (JFB), 2008 WL 5113425, at *10

(E.D.N.Y. Nov. 25, 2008) (“For example, the problems and expenses that allegedly developed

from the defendant’s participation in the first fraud scheme, including the alleged hiring of civil

and criminal attorneys, would help explain and provide an additional financial motive for the

defendant’s alleged decision to concoct and participate in the second scheme.”); Shyne, 2007 WL

1075035, at *34 (“Details of a defendant’s financial history are often relevant to the motive of a

defendant to commit a crime, especially if that crime involves pecuniary gain.”).

        In short, the defendant’s indebtedness is an inextricable part of the story of the charged

offenses. It is an entirely proper for the jury to weigh evidence bearing directly on the defendant’s

financial motivation and intent, as the Second Circuit and courts in this district have consistently

held. As discussed above, “an explanation of why the defendant would engage in the charged

conduct[ ]becomes highly relevant when the defendant argues that he did not commit the crime.”

Siddiqui, 699 F.3d at 702 (emphasis in original). That is plainly the case here. Accordingly, the

Court should admit evidence regarding the defendant’s and his law firm’s financial circumstances.

III.    The Court Should Admit Evidence of the Defendant’s Failure to File Income Tax
        Returns

        The Government seeks to admit evidence establishing that, for the time period relevant to

the charged conduct, the defendant and the law firms with which he was associated filed no federal

tax returns and reported no income to the Internal Revenue Service (“IRS”).

        A.     Applicable Law

        It is well established that evidence of otherwise uncharged conduct is admissible, without

regard to Rule 404(b), when it constitutes intrinsic or direct proof of the charged crimes. See, e.g.,


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United States v. Carboni, 204 F.3d 39, 44 (2d Cir. 2000); United States v. Gonzalez, 110 F.3d 936,

942 (2d Cir. 1997). Indeed, the Second Circuit has frequently observed that such evidence “is not

considered other crimes evidence under Rule 404(b) if it arose out of the same transaction or series

of transactions as the charged offense, if it is inextricably intertwined with the evidence regarding

the charged offense, or if it is necessary to complete the story of the crime on trial.” Carboni, 204

F.3d at 44 (internal quotation marks omitted) (quoting Gonzalez, 110 F.3d at 942); United States

v. Daly, 842 F.2d 1380, 1388 (2d Cir. 1988) (“[T]he trial court may admit evidence that does not

directly establish an element of the offense charged, in order to provide background for the events

alleged in the indictment. Background evidence may be admitted to show, for example, the

circumstances surrounding the events or to furnish an explanation of the understanding or intent

with which certain acts were performed.”).         In such circumstances, the uncharged conduct

evidence is appropriately treated as “part of the very act charged,” or, at least, proof of that act.

United States v. Concepcion, 983 F.2d 369, 392 (2d Cir. 1992).

       Alternatively, “[o]ther acts” evidence may be admitted under Rule 404(b) where the

evidence: (1) is advanced for a proper purpose; (2) is relevant to the crimes for which the defendant

is on trial; and (3) has probative value that is not substantially outweighed by any unfair prejudicial

effect. See United States v. Ortiz, 857 F.2d 900, 903 (2d Cir. 1988) (“[O]ther acts or crimes are

admissible under Rule 404(b) to prove matters other than the defendant’s criminal propensity”).

Rule 404(b)(2) identifies the proper purposes for the admission of other act evidence, including to

prove “motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or

lack of accident.” Id.

       The Second Circuit takes an “‘inclusionary’ approach” to the admission of other-act

evidence, under which “‘evidence of prior crimes, wrongs, or acts is admissible for any purpose



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other than to show a defendant’s criminal propensity,’ as long as it is ‘relevant to some disputed

issue in the trial’ and satisfies the probative-prejudice balancing test of Fed. R. Evid. 403.” United

States v. Brennan, 798 F.2d 581, 589 (2d Cir. 1986) (citations omitted).

       While any evidence offered pursuant to Rule 404(b) is subject to the balancing test set forth

in Rule 403, the Second Circuit has long made clear that “other act” evidence that is neither “more

sensational” nor “more disturbing” than the charged crimes will not be deemed unfairly

prejudicial. See, e.g., United States v. Roldan Zapata, 916 F.2d 795, 804 (2d Cir. 1990); United

States v. Williams, 205 F.3d 23, 33-34 (2d Cir. 2000); see also United States v. Paulino, 445 F.3d

211, 223 (2d Cir. 2006); cf. Costantino v. Herzog, 203 F.3d 164, 174 (2d Cir. 2000) (“[B]ecause

virtually all evidence is prejudicial to one party or another, to justify exclusion under Rule 403 the

prejudice must be unfair.”).

       B.      Discussion

       The Government seeks to admit evidence that the defendant and his law firms filed no

federal tax returns and reported no income to the IRS for the time period in which he stole Victim-

1’s book payments. This evidence is admissible as direct evidence of the charged crimes and, in

the alternative, pursuant to Rule 404(b).

       The defendant’s failure to file tax returns and report income for himself or his law firms,

including any income relating to Victim-1’s book payments, provides direct evidence that the

defendant understood that this money was not legitimate income for him. This evidence therefore

provides direct proof of the defendant’s intent to defraud. See Bergstein, 788 F. App’x at 745

(“The government properly introduced [the defendant’s] tax returns to show that even though [he]

maintained that his income was legitimate, shell companies under his control did not report or pay

taxes on [the] income.”). Moreover, the evidence is relevant and critical to rebutting an expected

defense—namely, that the defendant was entitled to the money as part of his agreement or

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understanding with Victim-1. See, e.g., United States v. Valenti, 60 F.3d 941, 946 (2d Cir. 1995)

(“The tax returns were obviously probative to refute [the defendant’s] defense that the contested

funds were legitimate compensation.”).

       In the alternative, the records are admissible pursuant to Rule 404(b), as they are highly

probative of the defendant’s intent, plan, knowledge, and absence of mistake or accident in

engaging in the charged crimes. The tax records demonstrate, among other things, that the

defendant knew that the “income” he derived from Victim-1’s book deal was illegitimate and that

he sought to conceal it. See, e.g., United States v. Adelekan, No. 19 Cr. 291 (LAP) (S.D.N.Y.

Oct. 22, 2021) (Tr. 488) (denying defense motion to preclude IRS testimony at trial regarding

failure to file tax returns and report income because “the testimony will be direct evidence of the

concealment of the source of the funds”). The tax records also show an absence of mistake or

accident in that the defendant took active steps to plan and conceal his fraud and the “income” he

earned from it. The tax returns are therefore important to rebut any defense that the defendant

acted in good faith and was lawfully entitled to the proceeds that he received. See Bergstein, 788

F. App’x at 745; United States v. Osarenkhoe, 439 F. App’x 66, 68 (2d Cir. 2011) (approving

admission of tax return evidence under Rule 404(b)).

       Finally, particularly in the context of this case, which involves a lawyer stealing from a

client, there is no basis to think that evidence that the defendant failed to pay income taxes would

be unfairly prejudicial within the meaning of Rule 403. As in other cases where such evidence has

been approved, there is nothing salacious or unfair about documentary evidence regarding the

defendant’s payment or non-payment of taxes demonstrating his own view of the proceeds of his

crime. See Valenti, 60 F.3d at 946 (“Any arguable prejudice to [the defendant] was de minimis: it

strains credulity to think that the jury might have believed [the defendant] innocent of transporting



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stolen goods, but voted to convict him anyway just because he failed to report income on his tax

returns.”); see also Bergstein, 788 F. App’x at 745; Osarenkhoe, 439 F. App’x at 68.

IV.    The Court Should Preclude Evidence and Argument that Victims of the Defendant’s
       Scheme to Defraud Are to Blame for Having Acted Negligently or Gullibly

       The federal fraud statutes, including wire fraud, do not require the Government to prove

reliance on a defendant’s conduct as an element of the offense. The defense should therefore be

precluded from suggesting during the trial—whether in jury addresses or witness examinations—

that the victims of the defendant’s fraud—including Victim-1, Victim-1’s literary agent, and

Victim-1’s publisher—are to blame, either because they failed to conduct sufficient diligence,

were negligent, or otherwise acted unreasonably in relying on the defendant’s misrepresentations.

       A.      Applicable Law

       Under Federal Rule of Evidence 402, “[i]rrelevant evidence is not admissible” at trial, Fed.

R. Evid. 402, and under Rule 403, a court may exclude even relevant evidence “if its probative

value is substantially outweighed by a danger of one or more of the following: unfair prejudice,

confusing the issues, misleading the jury, wasting time, or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403; see also United States v. Miller, 626 F.3d 682, 689 (2d Cir. 2010).

       The essential elements of wire fraud—as charged in Count One—are: (1) a scheme to

defraud; (2) money or property as the object of the scheme; and (3) use of wires to further the

scheme. United States v. Binday, 804 F.3d 558, 569 (2d Cir. 2015).

       To “prove the existence of a scheme to defraud, the government must also prove that the

misrepresentations were material, and that the defendant acted with fraudulent intent.” United

States v. Weaver, 860 F.3d 90, 94 (2d Cir. 2017) (internal citations and quotation marks omitted).

A “statement is material if the misinformation or omission would naturally tend to lead or is

capable of leading a reasonable [person] to change [his] conduct.” Id. In other words, materiality


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is an objective standard, and actual reliance is not an element of criminal fraud. Neder v. United

States, 527 U.S. 1, 24-25 (1999).

       In United States v. Thomas, the Second Circuit rejected as a matter of law the proposition

that a victim’s “vigilance (or lack thereof) was relevant.” 377 F.3d 232, 241, 243 (2d Cir. 2004);

see also Weaver, 860 F.3d at 95 (“[T]he unreasonableness of a fraud victim in relying (or not) on

a misrepresentation does not bear on a defendant’s criminal intent in designing the fraudulent

scheme, whereas the materiality of the false statement does.”). Just as “justifiable reliance” is not

an element of criminal fraud, neither does the Government need to prove damages, because the

fraud statutes criminalize the “scheme” rather than the completed fraud. Weaver, 860 F.3d at 95;

see also United States v. Rybicki, 287 F.3d 257, 262 (2d Cir. 2002), on reh’g en banc, 354 F.3d

124 (2d Cir. 2003) (“[T]he only significance in a fraud case of proof of actual harm befalling the

victim as a result of the scheme is that it may serve as circumstantial evidence from which a jury

could infer the defendant’s intent to cause harm.”). It is enough to show that the defendant

“contemplated some actual harm or injury to [the] victims.” Weaver, 860 F.3d at 95 (quoting

United States v. Greenberg, 835 F.3d 295, 306 (2d Cir. 2016) (emphasis in original)). The

pertinent statute therefore focuses on the defendant’s statements and intent, not on the state of

mind of his victims.

       B.      Discussion

       Because such evidence would be irrelevant under Rules 401 and 402, and unduly confusing

under Rule 403, the defendant should be precluded from offering evidence or argument that, had

Victim-1, Victim-1’s agent, Victim-1’s publisher, or anyone else asked more questions of the

defendant or been more diligent in some respect, he would have told them the truth, or that the

defendant is otherwise innocent because victims of his fraud were unreasonable in their reliance

on his misrepresentations or could have been more diligent in their dealings with him. E.g., United

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States v. Amico, 486 F.3d 764, 780 (2d Cir. 2007) (“The majority of circuits to address the issue

have rejected this defense, holding that a victim’s lack of sophistication is not relevant to the intent

element of . . . wire fraud” (citations omitted)).

        As part of the defendant’s scheme, the defendant lied or caused misleading information to

be conveyed to his client (Victim-1), Victim-1’s agent, and Victim-1’s publisher, in order to direct

Victim-1’s payments to the defendant. To forestall any of those parties from discovery of his

deception, the defendant also worked to prevent them from speaking directly with each other. The

diligence and sophistication of those the defendant targeted during this scheme to defraud are not

appropriate considerations at trial. E.g., Thomas, 377 F.3d at 243 (“We refuse to accept the notion

that the legality of a defendant’s conduct would depend on his fortuitous choice of a gullible

victim.” (internal quotation marks omitted)).         Indeed, in proving a scheme to defraud, the

Government is “not required to show that the intended victim was actually defrauded.” United

States v. Wallach, 935 F.2d 445, 461 (2d Cir. 1991) (internal citations omitted). Nor should the

defendant be able to use his own ruse against his victims by suggesting that, had they only spoken

with each either, they would have known that the defendant was in possession of Victim-1’s

payments. In short, the defendant should be precluded from blaming his victims—whether through

argument or evidence elicited through direct testimony or cross examination—because such

evidence is irrelevant and would violate Rule 403.

V.      The Court Should Preclude Argument that the Defendant Lacked Intent to Defraud
        Because He Intended that the Victim Would Ultimately Be Repaid

        A.      Applicable Law

        Wire fraud requires proof of, among other things, an intent to defraud. United States v.

Jabar, --- F.4th ----, 2021 WL 5406290, at *5 (2d Cir. 2021). The intent to defraud must involve

“contemplated harm to the victim.” Id. (quoting United States v. Starr, 816 F.2d 94, 98 (2d Cir.


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1987)). However, the requirement of contemplated harm does not require that a defendant

intended to permanently deprive a victim of his or her money or property. See United States v.

Males, 459 F.3d 154, 159 (2d Cir. 2006) (holding that jury instruction for wire fraud charge that

“the requirement of contemplated harm or injury does not require that [defendant] intended to

permanently de[p]rive the victim’s money or property” “was an accurate statement of the

applicable law”). “Nor is it a defense to [wire fraud] that the accused voluntarily returned the

funds.” United States v. Vincent, 416 F.3d 593, 601 (7th Cir. 2005). Accordingly, any argument

concerning a defendant’s repayment of victim funds or purported intention to repay a fraud victim

is legally improper. See United States v. Sawyer, 584 F. App’x 751, 752 & n.2 (9th Cir. 2014)

(“The Ninth Circuit, as well as every other circuit court to address the issue, has determined that a

defendant’s intent to repay his or her victims is not a defense to criminal fraud charges.” (collecting

cases)); United States v. Karro, 257 F.3d 112, 118 (2d Cir. 2001) (“the defendant’s contention that

she lacked the intent to fail to repay the money she charged on the fraudulently-obtained credit

cards is irrelevant to her guilt” in mail fraud case); United States v. Buckley, 101 F.3d 685, 1996

WL 282140, at *2 (2d Cir. 1996) (upholding instruction to jury in embezzlement case that “a good-

faith belief by a defendant that somehow or other she will be able to pay back the funds in the

future is not a defense of good faith”); United States v. Lillie, 669 F. Supp. 2d 903, 908 (N.D. Ill.

2009) (explaining that “district courts can and ‘should’ exclude evidence of a defendant’s intent

to repay fraudulently obtained funds because it is ‘irrelevant’ to the defendant’s fraudulent intent”

(quoting United States v. Spirk, 503 F.3d 619, 621 (7th Cir. 2007)).

       B.      Discussion

       The defendant should be precluded from making any argument that he lacked an intent to

defraud because he repaid some of the fraud proceeds or that he intended that Victim-1 would

ultimately be repaid. Permitting such an argument, which is contrary to controlling law, see, e.g.,

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Males, 459 F.3d at 159, would be improper and only serve to confuse or mislead the jury, see Fed.

R. Evid. 403. For those reasons, this Court should preclude such arguments, as courts routinely

do in fraud cases. See, e.g., United States v. Namvar, 498 F. App’x 749, 750 (9th Cir. 2012) (“The

district court properly excluded evidence of Namvar’s intent to repay the victims and good faith

effort to fund the exchanges because such an intent is not a defense to fraud.”); United States v.

Radziszewski, 474 F.3d 480, 485-86 (7th Cir. 2007) (upholding district court’s exclusion of

defendant’s purported good-faith defense that he intended to “pay off a debt obtained

fraudulently,” because “intention to repay . . . can undo neither the fraud nor injury caused by

wrongly depriving [the victim] of its funds” in the interim); United States v. Masquelier, 210 F.3d

756, 759 (7th Cir. 2000) (“district court was well within its discretion to exclude any evidence of”

defendant’s good intentions with regard to fraudulently obtained funds, because “[f]raud is

complete when the defendant obtains money by false pretenses”); United States v. Proudfoot,

No. 15 Cr. 427 (SI), 2018 WL 6198274, at *2 (D. Or. Nov. 28, 2018) (excluding “evidence or

argument related to Defendant’s intent or ability to repay the victims of the alleged fraud”); United

States v. Neuman, No. 11 Cr. 247 (BR), 2013 WL 2468254, at *1 (D. Or. June 7, 2013) (precluding

admission at fraud trial of exhibits relating to defendants’ intent to repay).

VI.    The Court Should Preclude Evidence or Argument Concerning the Potential
       Punishment or Consequences of Conviction

       The defendant should be precluded from offering evidence or argument concerning the

potential punishment or consequences, including a mandatory minimum sentence or disbarment,

that he faces if convicted. 3 Where the jury has no role at sentencing—such as in this case—it

“should be admonished to ‘reach its verdict without regard to what sentence might be imposed.’”


3
        The defendant appears to be suspended from practicing law, but has not been disbarred.
See Attorney Profile for Michael John Avenatti #206929, The State Bar of California,
https://apps.calbar.ca.gov/attorney/Licensee/Detail/206929 (last viewed Dec. 8, 2021).

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Shannon v. United States, 512 U.S. 573, 579 (1994) (quoting Rogers v. United States, 422 U.S.

35, 40 (1975)). This is so for good reason: argument concerning punishment “invites [jurors] to

ponder matters that are not within their province, distracts them from their factfinding

responsibilities, and creates a strong possibility of confusion.” Id. There is no proper basis for

the defendant to put these issues before the jury in any form, and the defendant should not be

permitted to offer evidence or argument inviting the jury to consider them.

VII.    The Court Should Preclude Evidence or Argument Concerning the Defendant’s Prior
        Commission of “Good Acts” and/or Failure to Commit Other “Bad Acts”

        To the extent that the defendant may seek to present evidence or argument concerning his

prior commission of alleged “good acts” or to offer evidence of his non-criminal activities to seek

to disprove his guilt, he should be precluded from doing so. Specific-act propensity evidence is

no more admissible to refute a criminal charge than it is to establish one.

        It is settled law that “[a] defendant may not seek to establish his innocence . . . through

proof of the absence of criminal acts on [other] specific occasions.” United States v. Scarpa, 897

F.2d 63, 70 (2d Cir. 1990). Similarly, while a defendant may offer general testimony from a

character witness about his reputation for a “pertinent trait of character,” or the witness’s opinion

of the defendant as regards that trait, see Fed. R. Evid. 404(a)(2)(A) & 405(a), a defendant can

neither testify nor offer other proof to establish specific acts in conformity with that trait that are

not an element of the offense. See, e.g., United States v. Benedetto, 571 F.2d 1246, 1249-50 (2d

Cir. 1978) (evidence of defendant’s specific acts improperly admitted because “character evidence

has long been admissible only in the form of reputation and not in the form of a recitation of good

or bad acts”); United States v. Rivera, No. 13 Cr. 149, 2015 WL 1725991 (KAM), at *2 (E.D.N.Y.

Apr. 15, 2015) (precluding evidence of charitable giving); United States v. Fazio, No. 11 Cr. 873

(KBF), 2012 WL 1203943, at *5 (S.D.N.Y. Apr. 11, 2012), (“a defendant may not affirmatively


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try to prove his innocence by reference to specific instances of good conduct; character is to be

proven by reputation or opinion evidence.”), aff’d, 770 F.3d 160 (2d Cir. 2014). The defendant

should accordingly be precluded from offering evidence or argument, including in his opening

statement, concerning any charity, philanthropy, pro bono representations, civic or political

activism, or any other specific instance or instances of his prior alleged good or public-oriented

acts, or the lack of commission of other bad acts, or his lack of criminal history.

       Nor should the defendant be permitted to suggest that his alleged prior achievements make

it less likely that he committed the charged crimes. To be sure, the defendant may seek to offer

admissible evidence, if any exists, that he experienced financial success during the time period

relevant to the charged conduct or had substantial means and thus had less of a financial motive to

commit the crimes with which he is charged, just as explained above, the Government may offer

evidence of the opposite. But such evidence is very different from that offered to show an alleged

propensity not to commit crimes, which is no more admissible than the reverse. Accordingly, any

such evidence or argument should be precluded.

                                         CONCLUSION

       For the foregoing reasons, the Government’s motions in limine should be granted.

Dated: New York, New York
       December 9, 2021

                                              Respectfully submitted,

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